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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

                Plaintiff,                                CASE NO. 21-CR-394 (TNM)

        vs.

 MATTHEW MARTIN,

                Defendant.

                      NOTICE UNDER RULE 12(b)4(B) AND RULE 16

Pursuant to Rule 12(b)4(B) and Rule 16 of the Federal Rules of Criminal Procedure, Matthew

Martin hereby requests notice of the government’s intent to use (in its evidence-in-chief at trial)

any evidence that the defendant may be entitled to discover under Rule 16.


                                             Respectfully submitted,

                                             DAN CRON LAW FIRM, P.C.

                                             /s/ Dan Cron
                                             DAN CRON
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                                             Attorneys for Matthew Martin

                                       Certificate of Service
        I hereby certify that on the 28th day of January, 2021 I caused to be served a true copy of
the foregoing Notice Under Rule 12(b)4(B) and Rule 16 to Mary Lyle Dohrmann, U.S. Attorney’s
Office for the District of Columbia, via e-filing and email mary.dohrmann@usdoj.gov.

                                             /s/ Dan Cron
                                             DAN CRON LAW FIRM, P.C.
